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MARK CHRlSTOPHER OBERT and
LESLEY OBERT,

Plaintiffs,

v. Civi| Docket No. 03-2135 DV

THE PYRAM|D, CITY OF |VlEl\/|PH|S,
SHELBY COUNTY GOVERN|VIENT,
PUBL|C BU|LD|NG AUTHOR|TY OF
ME|V|PHIS AND SHELBY COUNTY,
MEMF’H|S POL|CE DEPART|V|ENT,
LE|SURE MANAGEMENT lNTERNAT|ONAL
D/B/A i_l\/|l/HHI, LTD. and SPECTACOR
MANAGEMENT GROUP D/B/A/ SlVlG,

Defendants.

 

ORDER ON SCHEDUL|NG CONFERENCE
HELD APR|L 25, 2005

 

A Scheduling Conference was held on April 25, 2005 pursuant to the SMG
Nlotion for Rule 26(a) Conference and this Court’s Order of l\/larch 23, 2005. The
Conference Was held before Judge Bernice B. Donald and counsel for all the parties
were present

Generally discussed Were the various motions still pending in this cause and the
need to resolve those motions. The discussion included a discussion of Sl\/lG’s Motion
filed February 3, 2005 in opposition to the Plaintiffs’ l\/lotion to file Third Amended
Complaint and Motion to Reconsider the Orderof January 26, 2005. Counsel for Sl\/lG

pointing out to the Court that if the Third Amended Complaint is allowed to stand, then

This document entered on the docket sheet in compliance
with Huls 58 and/or 79(a) FHCP on 5 "§£`§ §§

 

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SlVlG Will need additional discovery and perhaps it will be necessaryto identify expert
witnesses Counsel for Sl\/lG made the point that with the addition of the common law
negligence count contained in the Third Amended Complaint, the Court should
reconsider deferring the matter to the Tennessee state court proceeding

Also discussed was the ll/lotion by the Plaintiffs to amend the previous
Scheduling Order so as to allow the Plaintiffs to take the deposition of a 30(b)(6)
representative of Shelby County and to take the depositions of two l\/lemphis police
officers, Sgt. Acred and J. Jordan.

Also discussed Was the pending l\/lotion for Summary Judgment filed by the City
of lVlemphis and the appropriate response time for the P|aintiffs to that l\/lotion.

Also discussed Was the proposal to refer this matter to the l\/lagistrate Judge for
a Sett|ement Conference.

in addition, the Court found that, pending the Court’s rulings on the various
pending motions, no new trial date should be scheduled.

lt is, therefore, ORDERED, ADJUDGED AND DECREED as follows:

The Plaintiffs shall be allowed to take the deposition of a 30(b)(6) representative
of Shelby County and the depositions of City of l\/lemphis police officers, Sgt. Acred and
J. Jordan on or before lVlay 30, 2005.

The Plaintiffs shall respond to the l\/lotion for Summary Judgment filed by the
City of l\/lemphis on or before lVlay 30, 2005.

This matter shall be referred to the Magistrate Judge for a Settlement

Conference.

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Upon receipt of this Court’s ruling on its lVlotion to Reconsider the Court’s Order
of January 26, 2005 allowing the Third Amended Complaint, the Defendant SMG shall
be free to apply to the Court for additional discovery and/or the identification of expert
witnesses

At this time, no new trial date is scheduled.

smeer thisé?€“day of Aprii, 2005.

   

B mice e. Donaici
nited States District Judge

Date: @/,,,, ;/D?Q Q'LUU <`/

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 146 in
ease 2:03-CV-02135 Was distributed by faX, mail, or direct printing on
May 4, 2005 to the parties listed.

 

 

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Honorable Berniee Donald
US DISTRICT COURT

